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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

                                              21-1165
                                   Case No. ________________

 AFFORDABLE AERIAL PHOTOGRAPHY,
 INC.,

        Plaintiff,

 v.

 ASHLEY E. JACOBS,

        Defendant.


                                            COMPLAINT

       Plaintiff Affordable Aerial Photography, Inc. (“Plaintiff”) sues defendant Ashley E. Jacobs

(“Defendant”), and alleges as follows:

                                           THE PARTIES

       1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Indian River County, Florida.

       2.      Defendant is an individual who, upon information and belief, resides at 221 Holt

Avenue, Apartment 2, Winter Park, FL 32789.

                                 JURISDICTION AND VENUE

        3.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

 1331 and 1338(a).

        4.     This Court has personal jurisdiction over Defendant because she has maintained

 sufficient minimum contacts with Florida such that the exercise of personal jurisdiction over her

 would not offend traditional notions of fair play and substantial justice. Further, since at least

 2009, Defendant been a licensed real estate broker in the State of Florida.


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         5.       Venue properly lies in this district because Defendant resides in this district and

 because a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in

 this district.

                                                  FACTS

I.      Plaintiff’s Business and History

         6.       Plaintiff was created as a Florida corporation in June 2005.           Plaintiff’s sole

 shareholder is Robert Stevens.

         7.       For the past sixteen (16) years, Mr. Stevens has been employed by Plaintiff as a

 high-end real estate photographer who specializes in aerial photography, stunning exterior and

 interior shots, as well as offering slide shows, virtual tours, and a full array of stock photography

 for luxury real estate industries.

         8.       Mr. Stevens is a pioneer of aerial real estate photography and has been engaging in

 creative and artistic means to capture such photographs long before today’s proliferation of

 consumer drone technology came to market.

         9.       Mr. Stevens travels throughout the State of Florida, nationally, and internationally

 to photograph high-end real estate on behalf of Plaintiff’s clients. He has been contracted by over

 280 clients to take professional photographs of various real estate projects, including but not

 limited to the estates of numerous celebrities (such as Madonna, Don King, Greg Norman, Rod

 Stewart, Ivana Trump, James Patterson, Alexander Haig, Ann Downey, Frank McKinney, Chris

 Evert, and others).

         10.      Plaintiff maintains a commercial website (www.robertstevens.com) which

 describes the photography services offered by Plaintiff, hosts a sample portfolio of photographs

 taken by Mr. Stevens, and invites prospective customers to contact Plaintiff to arrange for a


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 professional photo shoot.

        11.    Plaintiff owns the photographs taken by Mr. Stevens and serves as the licensing

 agent with respect to licensing such photographs for limited use by Plaintiff’s customers. To that

 end, Plaintiff’s standard terms include a limited, one-time license for use of any particular

 photograph by the customer only.         Plaintiff’s license terms make clear that all copyright

 ownership remains with Plaintiff and that its customers are not permitted to transfer, assign, or

 sub-license any of Plaintiff’s photographs to another person/entity.

        12.    Generally, at the time Plaintiff creates its professional photography, it applies

 copyright management information to such photography consisting of “Photography by Robert

 Stevens” to the bottom right corner thereof. Plaintiff does this for added protection/assurance to

 keep unauthorized persons from utilizing/displaying Plaintiff’s work.

II.    The Work at Issue in this Lawsuit

        13.    In 2011, Plaintiff created a photograph titled “zzz_1, May 27, 2011” (the “Work”).

        14.    Consistent with Plaintiff’s general practices, the Work contains (in the bottom left

 corner) Plaintiff’s copyright management information as follows: “© Robert Stevens.” A copy

 of the Work is exhibited below.




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           15.    The Work was registered by Plaintiff with the Register of Copyrights on July 30,

 2013 and was assigned Registration No. VA 1-953-574. A true and correct copy of the

 Certification of Registration pertaining to the Work is attached hereto as Exhibit “A.”

           16.    Plaintiff is the owner of the Work and has remained the owner at all times material

 hereto.

III.   Defendant’s Unlawful Activities

           17.    Defendant is licensed real estate broker in the State of Florida.

           18.    On a date after Plaintiff’s above-referenced copyright registration of the Work,

 Defendant published the Work on her business Facebook site, both as an independent photograph

 and       also     as    the     background         image       for     Defendant’s      profile   picture

 (https://www.facebook.com/ashleyjacobsrealtor) in connection with Defendant’s attempts to

 market her real estate services:




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       19.     In publishing the Work online, Defendant significantly cropped the Work so as to

remove Plaintiff’s copyright management information. The remaining details of the photograph,

however, unequivocally show the two photographs to be the same. A true and correct copy of

screenshots of Defendant’s website, displaying the copyrighted Work, is attached hereto as

Exhibit “B.”

       20.     Defendant is not and has never been licensed to use or display the Work. Defendant
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never contacted Plaintiff to seek permission to use the Work in connection with its website or for

any other purpose – even though the Work that was copied clearly displayed Plaintiff’s copyright

management information and put Defendant on notice that the Work was not intended for public

use.

        21.   Defendant utilized the Work for commercial use – namely, in connection with the

marketing of her real estate services.

        22.   Upon information and belief, Defendant located a copy of the Work on the internet

(with the copyright management information still intact) and, rather than contact Plaintiff to

secure a license, simply copied the Work for her own commercial use.

        23.   Plaintiff discovered Defendant’s unauthorized use/display of the Work in June

2021. On July 1, 2021 (following Plaintiff’s discovery), Plaintiff notified Defendant in writing

of such unauthorized use. To date, however, Defendant has not responded to Plaintiff, thus

necessitating the filing of this lawsuit to protect Plaintiff’s rights with respect to the Work.

        24.   All conditions precedent to this action have been performed or have been waived.

                        COUNT I – COPYRIGHT INFRINGEMENT

        25.   Plaintiff re-alleges and incorporates paragraphs 1 through 24 as set forth above.

        26.   The Work is an original work of authorship, embodying copyrightable subject

matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101

et seq.).

        27.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

        28.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,


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Defendant had access to the Work prior to her own reproduction, distribution, and public display

of the Work on her business Facebook site.

       29.      Defendant reproduced, distributed, and publicly displayed the Work without

authorization from Plaintiff.

       30.      By her actions, Defendant infringed and violated Plaintiff’s exclusive rights in

violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

displaying the Work for Defendant’s own commercial purposes.

       31.      Defendant’s infringement was willful as she acted with actual knowledge or

reckless disregard for whether its conduct infringed upon Plaintiff’s copyright. Defendant has

been a licensed real estate broker for 12 years and clearly understands that high-end real estate

photography – especially that containing copyright management information such as the Work –

is generally paid for and cannot simply be copied from the internet.

       32.      Plaintiff has been damaged as a direct and proximate result of Defendant’s

infringement.

       33.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

of the Work, which amounts shall be proven at trial.

       34.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

       35.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

attorneys’ fees as a result of Defendant’s conduct.

       36.      Defendant’s conduct has caused and any continued infringing conduct will continue


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to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no adequate

remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent injunction

prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

  a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

  b. A declaration that such infringement is willful;

  c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

      Plaintiff’s election, an award of statutory damages for willful infringement up to

      $150,000.00 for each infringement of the Work;

  d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

  e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

  f. Permanently enjoining Defendant, her employees, agents, officers, directors, attorneys,

      successors, affiliates, subsidiaries and assigns, and all those in active concert and

      participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

      or continuing to display, transfer, advertise, reproduce, or otherwise market any works

      derived or copied from the Work or to participate or assist in any such activity; and

  g. For such other relief as the Court deems just and proper.

    COUNT II – REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION

       37.    Plaintiff re-alleges and incorporates paragraphs 1 through 24 as set forth above.

       38.    As evidenced above, the Work contains copyright management information

identifying Plaintiff as the owner/creator of the Work.

       39.    Defendant knowingly and with the intent to enable or facilitate copyright

infringement, removed the copyright management information from the Work in violation of 17


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U.S.C. § 1202(b). Defendant did not simply recklessly copy the Work in a pre-altered state –

Defendant itself deliberately caused the copyright management information to be removed.

       40.    Defendant committed these acts knowing or having reasonable grounds to know

that it will induce, enable, facilitate, or conceal infringement of Plaintiff’s rights in the Work.

       41.    If Defendant did not remove the copyright management information herself,

Defendant caused, directed, and authorized others to commit these acts knowing or having

reasonable grounds to know that it will induce, enable, facilitate, or conceal infringement of

Plaintiff’s rights in the Work.

       42.    As a direct and proximate result of Defendant’s conduct in removing the foregoing

copyright management information, Plaintiff has been damaged.

       43.    Defendant’s conduct has caused and any continued infringing conduct will continue

to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no adequate

remedy at law. Pursuant to 17 U.S.C. § 1203(b), Plaintiff is entitled to a permanent injunction

prohibiting any further violation of 17 U.S.C. § 1202 by Defendant.

      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

  h. A declaration that Defendant has violated Plaintiff’s copyrights in the Work by removing

      or causing to be removed Plaintiff’s copyright management information displayed thereon;

  i. A declaration that such violation is willful;

  j. An award of actual damages and disgorgement of profits as the Court deems proper or, at

      Plaintiff’s election, an award of statutory damages for willful infringement up to

      $150,000.00 for each infringement of the Work;

  k. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. §

      1203(b)(5);


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   l. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

   m. Permanently enjoining Defendant, her employees, agents, officers, directors, attorneys,

       successors, affiliates, subsidiaries and assigns, and all those in active concert and

       participation with Defendant, from directly or indirectly further violating Plaintiff’s

       copyrights by further displaying or distributing the Work with its copyright management

       information removed; and

   n. For such other relief as the Court deems just and proper.

                                       Demand For Jury Trial

Plaintiff demands a trial by jury on all issued so triable.

Dated: July 16, 2021.


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 By: /s/ Daniel DeSouza, Esq.______
         Daniel DeSouza, Esq.
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